                                                                 Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 1 of 9



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                                                                 Attorneys for Trump Ruffin Tower I LLC
                                                            15
                                                                                               UNITED STATES DISTRICT COURT
                                                            16
                                                                                                          DISTRICT OF NEVADA
                                                            17
                                                                 MARY ANN BLANCO, ET AL.,                            CASE NO. 2:11-cv-00153-GMN-PAL
                                                            18
                                                                                            Plaintiffs,
                                                            19
                                                                             vs.
                                                            20
                                                                 TRUMP RUFFIN TOWER I LLC,                           DEFENDANT TRUMP RUFFIN TOWER
                                                            21                                                       I LLC'S NOTICE OF SUPPLEMENTAL
                                                                                            Defendant.                          AUTHORITY
                                                            22

                                                            23
                                                                             Defendant Trump Ruffin Tower I LLC, by and through its attorneys, hereby respectfully
                                                            24
                                                                 submits this Notice of Supplemental Authority in Support of its Opposition to Motion to Vacate
                                                            25
                                                                 Arbitration Award and Memorandum of Points and Authorities, stating as follows:
                                                            26
                                                                             Defendant filed its Opposition to Plaintiffs' Motion to Vacate Arbitration Award on
                                                            27
                                                                 March 31, 2011, arguing that the Arbitrator’s Final Order in this matter was not decided in
                                                            28
                                                                  13308997
                                                                 Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 2 of 9



                                                             1   “manifest disregarded” of the law.            Specifically, Defendant argued that (1) there was no

                                                             2   controlling law on the novel issues presented and, thus, nothing to disregard and (2) the

                                                             3   Arbitrator appropriately considered and addressed – in significant detail – the substantial law that

                                                             4   was presented.

                                                             5               On June 6, 2011, the Honorable Kent J. Dawson, of the United States District Court for

                                                             6   the District of Nevada, issued a decision in Spradlin v. Trump Ruffin Tower I, LLC, 2011 U.S.

                                                             7   Dist. LEXIS 61235, Case No. 2:08-CV-01428-KJD-RJJ (D. Nev. June 6, 2011), a copy of which

                                                             8   is attached as Exhibit A. Notably, Spradlin involved the same defendant, the same contract, the

                                                             9   same arbitration clause, and the same primary legal issue, namely the standard of review of an

                                                            10   arbitration decision in light of the Supreme Court's decision in Stolt-Nielsen S. A. v.

                                                            11   AnimalFeeds Int’l Corp., 130 S. Ct. 1758 (2010). In Spradlin, Judge Dawson observed – as
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                                                            12   Defendants have argue here – that "Stolt-Nielsen makes it clear that the 9 U.S.C. § 10(a)(4)
          Wilmer
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                                                            13   standard is a 'high hurdle' for the party petitioning the court to vacate an arbitration award." (See
                                 LAW OFFICES


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                                                            14   id. at *4.) Judge Dawson further observed that, under Stolt-Nielsen,
Snell &L.L.P.




                                                            15               It is not enough for petitioners to show that the panel committed an error – or
                                                                             even a serious error. It is only when [an] arbitrator strays from interpretation and
                                                            16
                                                                             application of the agreement and effectively dispense[s] his own brand of
                                                            17               industrial justice that his decision may be unenforceable. In that situation, an
                                                                             arbitration decision may be vacated under § 10(a)(4) of the FAA on the ground
                                                            18               that the arbitrator exceeded [his] powers, for the task of an arbitrator is to interpret
                                                                             and enforce a contract, not to make public policy.
                                                            19
                                                                 (See id. (citing Stolt-Nielsen S. A. v. AnimalFeeds Int’l Corp., 130 S. Ct. at 1767 (2010)
                                                            20
                                                                 (internal quotation marks omitted).)
                                                            21
                                                                             Applying this standard, Judge Dawson found that the arbitrator’s reasoning in that case –
                                                            22
                                                                 which addressed many of the same arguments Plaintiffs raise here – "far exceed[ed] the
                                                            23
                                                                 minimum requirements of the 'manifest disregard of the law' standard" and that the plaintiffs
                                                            24
                                                                 failed "to identify any aspect of the arbitrator’s decision that in which she ha[d] 'exceeded [her]
                                                            25
                                                                 powers' under the standards set forth by the Ninth Circuit and the Supreme Court[.]" (See id. at
                                                            26
                                                                 *14.) Accordingly, Judge Dawson denied the plaintiffs' motion to vacate the arbitrator's final
                                                            27
                                                                 order in that case.
                                                            28
                                                                  13308997

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                                                                 Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 3 of 9



                                                             1               Based on the foregoing, Stolt-Nielsen, and Judge Dawson's analysis in Spradlin, this

                                                             2   Court should conclude likewise and DENY Plaintiff's Motion to Vacate Arbitration Award.

                                                             3               DATED: June 28, 2011.

                                                             4                                                      SNELL & WILMER L.L.P
                                                             5

                                                             6

                                                             7                                                      /s/ Aaron D. Ford
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                                                                 Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 4 of 9



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                                                            28                               EXHIBIT A
                                                                  13308997

                                                                                                  -4-
         Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 5 of 9
                                                                                                                Page 1




                                                1 of 1 DOCUMENT

               WILLIAM SPRADLIN, et al., Plaintiffs, v. TRUMP RUFFIN TOWER I, LLC, De-
                                                fendant.

                                        Case No. 2:08-CV-01428-KJD-RJJ

                  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA

                                           2011 U.S. Dist. LEXIS 61235


                                               June 6, 2011, Decided
                                                June 8, 2011, Filed

COUNSEL: [*1] For William Spradlin, Kuniko Ishida,         dant filed a Response (#26), to which Plaintiffs filed
TDF Properties, LLC, Elliot Sprung, Sally Kim, Emma        [*2] a Reply (#27). Plaintiffs also filed a Notice of Sup-
Oduca, Shirley Spradlin, Plaintiffs: Burton W Wiand,       plemental Authority (#28) which the Court has also con-
LEAD ATTORNEY, Fowler White Boggs Banker P.A.,             sidered.
Tampa, FL; Elizabeth Lee Beck, Jared H. Beck, LEAD
ATTORNEYS, Beck & Lee, P.A., Miami, FL; Kyle R             I. Background
Nordrehaug, LEAD ATTORNEY, Blumenthal &
                                                                The instant case arises from a dispute between Wil-
Nordrehaug, La Jolla, CA; Ricardo R Ehmann, Robert B.
                                                           liam Spradlin and seven other individuals who purchased
Gerard, LEAD ATTORNEYS, Gerard & Associates, Las
                                                           condominium-hotel room units at the Trump Interna-
Vegas, NV.
                                                           tional Hotel and Tower in 2005 ("Plaintiffs") on the one
                                                           hand and Trump Ruffin Tower I, LLC ("Trump Tower")
For David Sprung, Plaintiff: Burton W Wiand, LEAD
                                                           on the other over the details of their purchase agreement
ATTORNEY, Fowler White Boggs Banker P.A., Tampa,
                                                           ("the Agreement"), including whether the purchases were
FL; Kyle R Nordrehaug, LEAD ATTORNEY, Blumen-
                                                           actually securities and whether Trump Tower's behavior
thal & Nordrehaug, La Jolla, CA; Ricardo R Ehmann,
                                                           violated laws governing such sales. Plaintiffs originally
Robert B. Gerard, LEAD ATTORNEYS, Gerard & As-
                                                           brought suit in Nevada state court on September 22,
sociates, Las Vegas, NV; Elizabeth Lee Beck, Jared H.
                                                           2008, after which Trump Tower removed the suit to this
Beck, Beck & Lee, P.A., Miami, FL.
                                                           Court on October 20, 2008. In November of 2008 both
                                                           parties agreed to stay the case pending the outcome of a
For Trump Ruffin Tower I LLC, Defendant: Aaron D.
                                                           Nevada Supreme Court case addressing the validity of an
Ford, Snell & Wilmer L.L.P., Las Vegas, NV; Justin L
                                                           arbitration clause identical to the arbitration clause in the
Carley, Snell & Wilmer, LLP, Las Vegas, NV; Alex Fu-
                                                           Agreement; on April 22, 2009 the Supreme Court of Ne-
gazzi, Patrick G. Byrne, Snell & Wilmer, Las Vegas,
                                                           vada found the arbitration clause to be valid and enforce-
NV.
                                                           able. The parties then stipulated to stay their case and
                                                           arbitrate the matter.
JUDGES: Kent J. Dawson, United States District Judge.
                                                                Plaintiffs filed a class arbitration on April 9, 2010,
OPINION BY: Kent J. Dawson                                 but Trump [*3] Tower disagreed about whether the re-
                                                           quirements for class arbitration had been met. The parties
OPINION                                                    briefed and argued the matter before the arbitrator, who
                                                           issued a Partial Final Award on Clause Construction
ORDER                                                      ("the Award") on August 10, 2010. The Award included
                                                           the determination that there was no agreement to class-
   Currently before the Court is Plaintiffs' Petition to
                                                           wide arbitration in the Agreement; the arbitrator also
Vacate the Partial Final Arbitration Award (#25). Defen-
         Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 6 of 9
                                                                                                                   Page 2
                                             2011 U.S. Dist. LEXIS 61235, *


declined to find that the arbitration clause in the Agree-    2d 740 (2001) ("if an arbitrator is even arguably constru-
ment was unconscionable. Plaintiffs then filed the pre-       ing or applying the contract and acting within the scope
sent Petition to Vacate the Award on September 9, 2010.       of his authority, the fact that a court is convinced he
                                                              committed serious error does not suffice to overturn his
II. Legal Standard                                            decision") (citations, quotation marks omitted).
     The Federal Arbitration Act governs federal court             The Ninth Circuit has also elaborated on the mean-
review of arbitration awards. Kyocera Corp. v. Pruden-        ing of the 9 U.S.C. § 10(a)(4), holding that arbitrators'
tial-Bache T Servs., 341 F.3d 987 (9th Cir. 2003). Sec-       awards are subject to review "not when they merely in-
tion 10(a)(4) of the Act states that a district court may     terpret or apply the governing law incorrectly, but when
"make an order vacating the award upon the application        the award is 'completely irrational,' or exhibits a 'mani-
of any party to the arbitration . . . where the arbitrators   fest disregard of law.' Kyocera Corp. v. Prudential-
exceeded their powers." 9 U.S.C. § 10(a)(4).                  Bache T Servs., 341 F.3d 987, 997 (9th Cir. 2003) (cita-
                                                              tions omitted). The Ninth Circuit has further explained
     In elaborating on this standard, Plaintiffs cite the
                                                              the "manifest disregard" standard in this manner:
Supreme Court's decision in Stolt-Nielsen, a case that
also involved federal court review of an arbitration order
                                                                       [F]ederal courts of appeals have repeat-
on the issue of class arbitration. (Petition to Vacate p.5
                                                                     edly held [that] "manifest disregard of the
(citing Stolt-Nielsen S. A. v. AnimalFeeds Int'l Corp., 130
                                                                     law" means something more than just an
S. Ct. 1758, 176 L. Ed. 2d 605 (2010)).) [*4] Plaintiffs
                                                                     error in the [*6] law or a failure on the
begin their discussion appropriately with a reference to
                                                                     part of thearbitrators to understand or ap-
the language in 9 U.S.C. § 10(a)(4); they go on, however,
                                                                     ply the law. It must be clear from the re-
to characterize Stolt-Nielsen as holding that "when an
                                                                     cord that thearbitrators recognized the ap-
arbitrator ignores the parties' agreement, the arbitrator
                                                                     plicable law and then ignored it. As such,
exceeds its power," a relatively low standard. (Petition to
                                                                     mereallegations of error are insufficient.
Vacate p.5.)
                                                                     Moreover, to rise to the level of manifest-
    On the contrary, Stolt-Nielsen makes it clear that the           disregard the governing law alleged to
9 U.S.C. § 10(a)(4) standard is a "high hurdle" for the              have been ignored by the arbitrators must
party petitioning the court to vacate an arbitration award:          be well defined, explicit, and clearly ap-
                                                                     plicable. Collins v. D.R. Horton, Inc., 505
         It is not enough for petitioners to show                    F.3d 874, 879-880 (9th Cir. 2007) (cita-
       that the panel committed an error--or even                    tions, quotation marks omitted).
       a serious error. "It is only when [an] arbi-
       trator strays from interpretation and appli-
       cation of the agreement and effectively                It is therefore not enough that the arbitrator has made an
       'dispense[s] his own brand of industrial               error in interpreting the agreement under the law. The
       justice' that his decision may be unen-                error must lack a rational foundation, or the arbitrator
       forceable." In that situation, an arbitration          must have recognized but obviously ignored clear, rele-
       decision may be vacated under § 10(a)(4)               vant legal principles.
       of the FAA on the ground that the arbitra-
       tor "exceeded [his] powers," for the task              III. Analysis
       of an arbitrator is to interpret and enforce
                                                                   Plaintiffs claim the arbitrator exceeded her power in
       acontract, not to make public policy.
                                                              a number of different ways by "manifestly disregarding"
       Stolt-Nielsen S. A. v. AnimalFeeds Int'l
                                                              the law. None of these claims meet the high standard of
       Corp., 130 S. Ct. 1758, 1767, 176 L. Ed.
                                                              review for overturning an arbitration award, however.
       2d 605 (2010) (citations omitted).
                                                              A. Class Arbitration
Thus, a court will only overturn an arbitration order              Plaintiffs argue that the arbitrator erred in conclud-
when the mode of the arbitrator's [*5] decision was one       ing the Agreement does not allow class arbitration be-
of policy-making. When the arbitrator addresses the           cause the arbitrator's decision does not accord with the
agreement at hand in the context of surrounding laws,         Nevada default rule on consolidation [*7] of arbitration
even when the arbitrator appears to have done so errone-      and the arbitrator's decision does not accord with the
ously, a court should not intercede to overturn the order.    parties' intent and expectations. Plaintiffs conclude that
See, e.g., Major League Baseball Players Ass'n v.             the arbitrator's decision therefore exceeded her power.
Garvey, 532 U.S. 504, 509, 121 S. Ct. 1724, 149 L. Ed.
          Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 7 of 9
                                                                                                                   Page 3
                                             2011 U.S. Dist. LEXIS 61235, *


1. Nevada default rule                                                amenable to consolidation (such as in the mari-
                                                                      time context of Stolt-Nielsen), it would be even
      Plaintiffs claim the arbitrator erred by not finding
                                                                      more unlikely that parties intended to agree to
that the default rule under Nevada state law requires
                                                                      class arbitration where the agreement is silent on
class arbitration to be allowed when not specifically pro-
                                                                      the matter. Nowhere in Stolt-Nielsen is there any
hibited in an agreement. Plaintiffs read Stolt-Nielsen as
                                                                      evidence for the proposition that state default
holding that when an arbitration agreement is silent on
                                                                      rules that allow for consolidation of arbitration
the question of class arbitration, an arbitrator should fol-
                                                                      under certain circumstances should be interpreted
low the state default rule for consolidation of arbitration.
                                                                      to require class arbitration in agreements that do
Plaintiffs then argue that the Nevada default rule for con-
                                                                      not mention class arbitration. Plaintiffs are not
solidation of arbitration is that consolidation may be or-
                                                                      only wrong on this point, but if their repeated ar-
dered unless the agreement prohibits consolidation. (Peti-
                                                                      guments to this effect had been accepted by the
tion to Vacate p.10 (citing N.R.S. 38.224).) Plaintiffs
                                                                      arbitrator, it would have been the only aspect of
therefore claim that the arbitrator erred in distinguishing
                                                                      the instant case in which the legal error exceeded
class certification rules from consolidation rules because
                                                                      the "manifest disregard of the law" standard.
such a ruling is contrary to Stolt-Nielsen. Even if Plain-
tiffs were correct on these points,1 however, Plaintiffs'
                                                               2. Parties' intent and expectations
claims would not meet the standard of review necessary
for this Court to overturn an arbitration award. The arbi-          Plaintiffs [*10] go on to claim that the arbitrator's
trator considered the [*8] same legal arguments Plain-         decision against class arbitration was also incorrect be-
tiffs are now putting forward, and the arbitrator referred     cause the arbitrator ignored undisputed evidence of the
to and analyzed the appropriate case law (including            parties' intent and expectations. They characterize Stolt-
Stolt-Nielsen) and statutes (including N.R.S. 38.224) in       Nielsen as standing for the principle that an arbitration
doing so.                                                      provision's silence creates ambiguity, which should be
                                                               resolved by looking to evidence regarding the intent of
       1 And they are not. For example, even without           the parties. Plaintiffs then cite evidence such as their own
       conducting as close an analysis of this issue as        declarations, Trump Tower's contemporaneous actions,
       the arbitrator conducted below, it is clear to this     additional documents that were part of the same transac-
       Court that Plaintiffs' repeated claims that Stolt-      tion as the Agreement, the language of the Agreement
       Nielsen stands for the principle that the "state law    itself, and contemporaneous awards by the AAA allow-
       'default rule' for consolidation of arbitration         ing class arbitration in other cases.
       claims" should govern determinations about class
                                                                     However, the arbitrator considered every piece of
       arbitration are completely incorrect. It may be
                                                               evidence Plaintiffs cite and discussed them all in the par-
       true that the facts of Stolt-Nielsen involve arbitra-
                                                               tial final award and analyzed them in light of her inter-
       tion claims that were consolidated, but the Stolt-
                                                               pretation of Stolt-Nielsen and other applicable case law.
       Nielsen Court does not rely on that fact or even
                                                               Instead of ignoring the evidence or the law, as Plaintiffs
       mention it subsequent to the background exposi-
                                                               claim, the arbitrator based her reasoning and opinion on
       tion at the start of the opinion. The Court's only
                                                               both.
       other discussion of consolidation of arbitration
       claims in Stolt-Nielsen (as opposed to class certi-          Plaintiffs do not argue that the arbitrator was dis-
       fication of arbitration claims) comes when the          pensing her own brand of industrial justice or making
       Court lists several items that the arbitration panel    public policy, or that the arbitrator's decision was com-
       below considered but did not find persuasive, in-       pletely irrational [*11] or completely disregarded the
       cluding "court cases denying consolidation of ar-       clear, applicable principles of the law.2 Rather Plaintiffs
       bitrations." The Court does not state that the          argue that the arbitrator committed errors in her legal
       panel should [*9] have found these cases persua-        analysis. They are therefore essentially asking this Court
       sive, nor does the Court mention these cases ever       to allow them to re-litigate issues already presented to
       again.                                                  the arbitrator below merely because Plaintiffs disagree
                                                               with the outcome reached by the arbitrator. This flies in
            Furthermore, even if this fleeting mention of
                                                               the face of the letter of the FAA, which only allows lim-
       "court cases denying consolidation of arbitra-
                                                               ited court review of arbitral awards, as well as the spirit
       tions" were intended to establish a legal principle
                                                               of the FAA, which was enacted "in response to wide-
       to guide future rulings on class arbitration, as a
                                                               spread judicial hostility to arbitration agreements."
       logical matter the implied principle would be that
                                                               AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740, 179
       where past courts have found that in a particular
                                                               L. Ed. 2d 742 (2011). Therefore, this Court cannot over-
       context arbitration agreements were not even
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                                                                                                                     Page 4
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turn the arbitrator's determination regarding class arbitra-           Since this issue was not raised or addressed by
tion.                                                                  the parties in this case, however, this Court will
                                                                       not consider it.
       2 And insofar as Plaintiffs' claims could be con-
                                                                     Plaintiffs also claim that the arbitration provision is
       strued to be making the latter argument, this
                                                                unconscionable for a variety of reasons: because it fails
       Court finds that the arbitrator did not disregard
                                                                to warn purchasers that they are waiving important
       any clear, applicable principles of law in her de-
                                                                rights, because it is inconspicuously buried in the con-
       cision.
                                                                tract, because it contains a prohibition on punitive dam-
                                                                ages, and because its provisions on fee-shifting, confi-
B. Unconscionability
                                                                dentiality, discovery, and burden of proof are all one-
     Plaintiffs also argue that the arbitrator exceeded her     sided. As before, however, the arbitrator considered
authority in ruling that the contract was not void as un-       these factors in her decision. Rather than "ignoring" the
conscionable.3 According to Plaintiffs, the arbitrator in-      evidence, as Plaintiffs claim, the arbitrator took notice of
correctly relied on a non-precedential opinion from a           each piece of evidence and accorded it weight in reach-
case with [*12] different facts, KJH & RDA Investor             ing her decision. For example, the arbitrator considered
Group, LLC v. Eighth Judicial Dist. Court of Nevada,            the argument that the arbitration provision was incon-
2009 WL 1455992 (Nev. 2009). However, as the arbitra-           spicuously buried; however, she rejected it on the
tor noted, in the arbitration proceeding both Plaintiffs        grounds that the Nevada Supreme Court [*14] had al-
and Trump Tower "refer[red] to and rel[ied] on [KJH],           ready found that an identical arbitration provision in KJH
and treat[ed] it as controlling." (Petition to Vacate, Ex-      was "not inconspicuous and that the plaintiffs [in KJH]
hibit 1, p.6 n6.) Plaintiffs go on to claim that the arbitra-   must have read and understood them, since they sepa-
tor erred in applying KJH because she considered the            rately initialed each page." (Petition to Vacate, Exhibit 1,
facts of KJH instead of the facts of the instant case.          p.7.)
Throughout the arbitrator's decision, however, she refers
                                                                      In each such instance this Court finds the arbitrator's
to the specific facts of this case, comparing and contrast-
                                                                reasoning far exceeds the minimum requirements of the
ing them with the facts in KJH and ultimately basing her
                                                                "manifest disregard of the law" standard. Plaintiffs again
decision on KJH only "to the extent that the record is the
                                                                fail to identify any aspect of the arbitrator's decision that
same, and the issues raised were the same there." (Peti-
                                                                in which she has "exceeded [her] powers" under the
tion to Vacate, Exhibit 1, p.6.)
                                                                standards set forth by the Ninth Circuit and the Supreme
                                                                Court, and this Court therefore declines to allow Plain-
       3 After both parties had fully briefed this issue,
                                                                tiffs to relitigate this issue before this Court.
       the Nevada Supreme Court issued an opinion
       finding that a provision in an arbitration agree-
                                                                IV. Conclusion
       ment that disallows any form of class action
       makes the agreement unconscionable. Picardi v.               Accordingly, IT IS HEREBY ORDERED that
       Eighth Judicial Dist. Court of Nev.,      P.3d ,         Plaintiffs' Petition to Vacate Partial Final Arbitration
       127 Nev. Adv. Op. 9, 2011 Nev. LEXIS 11 (Mar.            Award (#25) is DENIED.
       31, 2011). Shortly thereafter, however, the U.S.
                                                                    DATED this 6TH day of June 2011.
       Supreme Court issued an opinion [*13] finding
       that a more limited rule against arbitration provi-          /s/ Kent J. Dawson
       sions that disallow class actions in adhesive con-
       tracts set forth in the California Supreme Court's           Kent J. Dawson
       Discover Bank decision was pre-empted by the                 United States District Judge
       FAA. AT&T Mobility LLC v. Concepcion, 131 S.
       Ct. 1740, 179 L. Ed. 2d 742 (April 27, 2011).
                                                                 Case 2:11-cv-00153-GMN-PAL Document 25 Filed 06/27/11 Page 9 of 9



                                                             1                                      CERTIFICATE OF SERVICE

                                                             2               I hereby certify that on the June 28, 2011, I electronically transmitted the foregoing

                                                             3   NOTICE OF SUPPLEMENTAL AUTHORITY to the Clerk’s Office using the CM/ECF

                                                             4   System for filing and transmittal of a Notice of Electronic Filing to all counsel in this matter; all

                                                             5   counsel being registered to receive Electronic Filing.

                                                             6

                                                             7
                                                                                                                  /s/ Aaron D. Ford
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